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 4
                             UNITED STATES DISTRICT COURT
 5
                            SOUTHERN DISTRICT OF CALIFORNIA
 6                               (Hon. Janis L. Sammartino)
 7
     UNITED STATES OF AMERICA,                        CASE NO. 23-CR-0995-JLS
 8
 9                              Plaintiff,            ORDER GRANTING JOINT MOTION
                                                      TO CONTINUE MOTION HEARING
10          vs.                                       AND TRIAL SETTING
11
     JOSE LEAL-TORRES,
12
13                              Defendant.
14
15         Based upon the joint motion of the parties, and GOOD CAUSE appearing, it is
16
     hereby ordered that the motion hearing and trial setting scheduled for June 23, 2023 shall
17
18 be continued to July 28, 2023, at 1:30 p.m.
19         IT IS SO ORDERED.
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     Dated: June 20, 2023
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